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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
v.                                           Case No. 23-20062
                                             Honorable Victoria A. Roberts
IBRAHIM SAMMOUR, D-5.,

     Defendant.
______________________________/

ORDER DENYING DEFENDANT’S MOTION TO PERMIT HIM TO WORK
   AS A REGISTERED NURSE FOR EXPERTS IN HOME HEALTH
            MANAGEMENT, INC. WHILE ON BOND

       Ibrahim Sammour is a registered nurse (“RN”) charged by indictment

with one Count of conspiracy to commit health care fraud. He is released on

bond and subject to several conditions. Among them is the requirement that

Pretrial Services approve any employment after consultation with the

Government. Sammour is also barred from involvement in any type of direct

billing.

       Sammour wants to work as a RN for Experts in Home Health

Management, Inc (“Experts Inc.”). As a RN, he would not be involved in direct

billing. He requested approval from Pretrial Services and the Government,

but they opposed his request. On May 2, 2023, Sammour filed a motion




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asking the Court to permit him to work for Experts Inc. The Court declines to

do so.

      Sammour is not foreclosed from all employment in the medical field.

However, because he is accused of defrauding the United States of millions

in a home health care billing scheme, any employment in the home health

care field is subject to close examination. That examination reveals that

Experts Inc. is not a suitable employer. Magistrate Judge Stafford articulated

during his bond hearing that any involvement in home health care where

Sammour may be "unsupervised and fabricate" is inappropriate. [ECF No.

16 at 17:38]. Expert Inc. is not a large health system. Although it verifies that

Sammour's role does not involve direct billing, there is a significant risk that

he would be unsupervised and could engage in the same fraudulent behavior

alleged in the indictment. The motion is DENIED.


      IT IS ORDERED.

                                           s/ Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge

Dated: 6/13/2023




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